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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
              v.                                     :      CASE NO. 20-CR-55 (TFH)
                                                     :
JACOB KYLE JORDAN,                                   :
                                                     :
                    Defendant.                       :

                    UNITED STATES= RESPONSE TO DEFENDANT’S
                    MOTION TO MODIFY CONDITIONS OF RELEASE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to Defendant’s “Motion to Modify

Conditions of Release” (Docket Entry 32).

       As the Court is aware, the United States has previously noted its concerns regarding

Defendant’s potential dangerousness to the community, as well as his risk of flight. (Docket

Entries 7, 17, 22, 25).

       Nevertheless, the United States is also keenly aware of the substantial burden that the

coronavirus pandemic has placed on Pretrial Service’s resources and understands that HISP

monitoring is not designed to serve as a long-term supervision plan.

       Given the representations of both defense counsel and Pretrial Officer Sidbury, and

considering the fact that Defendant appears to be in full compliance with his release conditions,

the United States takes no position on the pending motion and respectfully defers to the Court

with regard to the instant motion to modify release conditions.
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                              Respectfully submitted,

                                  MICHAEL R. SHERWIN
                                  Acting United States Attorney
                                  New York Bar No. 4444188


                        By:       /s/ James B. Nelson_
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel, via the Electronic Case Filing (ECF) system, on August 5, 2020.




                                        By:        /s/ James B. Nelson
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